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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       CRIMINAL NO. 22-CR-164-16 (RBW)
                                               :
                v.                             :       VIOLATIONS:
                                               :       18 U.S.C. ' 924(c)(1)(A)(i)
CHRISTION COOPER,                              :       (Using, Carrying, and Possessing a
also known as “Soulja,”                        :       Firearm During and Relation to a Drug
                                               :       Trafficking Offense)
                       Defendant.              :
                                               :       FORFEITURE:
                                               :       18 U.S.C. § 924(d); 21 U.S.C. § 853(p)
                                               :       28 U.S.C. § 2461(c)

                                     INFORMATION

       The United States Attorney charges that:

                                           COUNT ONE

       On or about June 29, 2022, within the District of Columbia, CHRISTION COOPER, also

known as “Soulja,” did unlawfully and knowingly use, carry, and possess a firearm that is, a 9mm

Glock 19 with serial number NAL683, during and in relation to, and possess in furtherance of, a

drug trafficking offense, for which he may be prosecuted in a court of the United States, that is,

conspiracy to possess with the intent to distribute a mixture and substance containing a detectable

amount of cocaine base, also known as crack, and a mixture and substance containing less than 50

kg of marijuana, in violation of Title 21, United States Code, Sections 846, 841(b)(1)(C), and

841(b)(1)(D).

       (Using, Carrying, and Possessing a Firearm During and in Relation to a Drug
       Trafficking Offense, in violation of Title 18, United States Code, Section 924(c)(1)(A)(i))

                                 FORFEITURE ALLEGATION

       1.        Upon conviction of the offense alleged in Count One of this Information, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)

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and Title 28, United States Code, Section 2461(c), any firearm and ammunition involved in or

used in the knowing commission of the offense, including but not limited to a 9mm Glock 19 with

serial number NAL683, and 9mm ammunition.

       3.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property that cannot be divided without

                       difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to 21 U.S.C. § 853(p).

       (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
       United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))

                                              Respectfully submitted,

                                              MATTHEW GRAVES
                                              United States Attorney
                                              DC Bar No. 481052

                                                    /S/
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